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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )        4:01CR148
              Plaintiff,                   )
                                           )
  vs.                                      )        ORDER
                                           )
DARRELL W. MILLER,                         )
                                           )
              Defendant.


    IT IS ORDERED that a revocation hearing is set to commence at 12:00 noon on

October 25, 2005 before the Hon. Richard G. Kopf, United States District Judge, in

Courtroom #1, United States Courthouse, Lincoln, Nebraska.


        Dated: July 18, 2005


                                   BY THE COURT

                                   s/ David L. Piester

                                   United States Magistrate Judge
